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                                           July 11, 2018
                                                                                          Via ECF
Honorable Lorna G. Schofield
U.S. District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

       Re:     In re Foreign Exchange Benchmark Rates Antitrust Litigation
               Case No. 1:13-cv-07789-LGS (S.D.N.Y.)

Dear Judge Schofield:

        Pursuant to the Court’s May 24, 2018 Order (ECF No. 1063), Class Counsel write to
provide the Court with updated statistics on the participation rate in the settlement claims process
and the additional information the Court requested during the fairness hearing regarding
attorneys’ fees and expenses. We will submit proposed orders approving the settlements, the
plan of distribution, and an award of attorneys’ fees and reimbursement of litigation expenses on
July 25, 2018. See ECF No. 1086.

       I.      Updated Statistics on Participation Rate in the Settlement Claims Process

        We continue to estimate the participation rate by number of claimants at 30%. There are
approximately 60,000 submitted claims from settlement classes consisting of approximately
200,000 members. Approximately 10% of these claims include FX Exchange-Traded
Instruments. The estimated participation rate, measured by claim volume, has narrowed to 32%-
35%. Assuming a 35% participation rate by volume, claimants are projected to recover 94% to
123% of estimated single damages for the litigation class period (December 1, 2007–
December 31, 2013).1 See also Exhibit 1 (Gross Settlement Fund as a Percentage of Damages
Recovered). These updated statistics are based on available data from claims received, as the
Claims Administrator has not yet validated all received claims at this time and include
participation estimates from entities to which Class Counsel authorized extensions of the filing
deadline pursuant to paragraph 21 of the Second Superseding Order Approving the Form and
Manner of Notice (ECF No. 883).

        At the Court’s request, Class Counsel analyzed the number of ERISA plans eligible to
participate in the settlements and their estimated rate of participation. See Hr’g Tr. at 24-25
(May 23, 2018). Based on our estimates, there are approximately 12,500 ERISA plan class
members, and ERISA plan class members constitute approximately 2% of total eligible class-
wide volume. Approximately 25% of ERISA plans have submitted claims under the settlements.
No ERISA plan has sought to exclude itself from the settlements.

1
        Class Counsel previously estimated damages for the litigation class period of $5.4 billion
to $7 billion (before trebling). See Hr’g Tr. at 7:16-8:13 (Sept. 5, 2017); ECF No. 1058.
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       II.     Application for Attorneys’ Fees and Reimbursement of Litigation Expenses

        In connection with the fee and expense application, the Court asked for a chart showing
attorney billing rates and the seniority of the attorneys who submitted time in the case. See Hr’g
Tr. at 39-40 (May 23, 2018). Attached as Exhibit 2 is a chart showing the name, firm, position,
hourly rate, and year of bar admission for each attorney.

        The Court also asked for further analysis based on data provided in empirical fee studies
published by Professors Fitzpatrick and Miller to show regression lines for estimated fee awards
in class cases that encompass the $2.31 billion settlement in this Action. See Hr’g Tr. at 38-39
(May 23, 2018).2 Class Counsel asked Professors Fitzpatrick and Miller to generate such
regression lines using the data in their respective studies, and to increase relevance, both
professors generated regression lines using fee awards in cases with recoveries of at least
$100 million. The Fitzpatrick regression (Exhibit 3) shows that Class Counsel’s fee request is
slightly above the regression estimate (blue line) but well within the standard statistical
confidence interval (95%) (gray lines). The Miller regression (Exhibit 4) shows that Class
Counsel’s fee request is exactly in line with the regression estimate.

        At the Court’s request, Class Counsel are submitting to Chambers an updated Excel
version of the Attorneys’ Fee Awards in Megafund Antitrust Class Action Cases (ECF No. 1058
at Exhibit 3). See Hr’g Tr. at 32 (May 23, 2018). In addition to adding the dollar amounts of the
fee awards, we made two updates. We added an additional recent fee award (In re Lithium Ion
Batteries Antitrust Litig., No. 13-md-02420-YGR, ECF No. 2322 (N.D. Cal. May 16, 2018)
(awarding attorneys’ fees of 30% of $139.3 million settlement fund)) and made minor
corrections to the entries for In re Relafen Antitrust Litig. and In re Automotive Parts Antitrust
Litig.

        We plotted the fee awards listed in the updated Megafund Antitrust Cases chart and
imposed a best-fit, linear trend line. Exhibit 5 plots fee awards in the cases with recoveries over
$100 million, and Exhibit 6 plots fee awards in the cases with recoveries over $500 million. In
both Exhibits 5 and 6, the blue trend line excludes the fee award requested by Class Counsel, and
the red trend line includes the requested fee award.

        The Court also asked us to identify fee awards in antitrust class action cases that were
tried to a verdict. See Hr’g Tr. at 42-43 (May 23, 2018). One of the cases in the Megafund
Antitrust Cases chart was tried to a plaintiffs’ verdict:


2
        The two studies are B. Fitzpatrick, An Empirical Study of Class Action Settlements and
Their Fee Awards, 7 J. EMPIRICAL L. STUD. 811 (2010) (ECF No. 939-38), and T. Eisenberg, G.
Miller, and R. Germano, Attorneys’ Fees in Class Actions: 2009-2013, 92 N.Y.U. LAW REVIEW
937 (2017) (ECF No. 939-35-37).
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       In re: Urethane Antitrust Litig.: Trial proceeded against the sole remaining defendant
        after two prior settlements. No. 04-md-1616, 2016 WL 4060156 (D. Kan. July 29, 2016).
        The court entered a judgment of over $1 billion, accounting for statutory trebling and a
        setoff for the settlements. Id., at *1. The Tenth Circuit affirmed the judgment. See In re
        Urethane Antitrust Litig., 768 F.3d 1245 (10th Cir. 2014). While the defendant’s petition
        for certiorari was pending, the parties reached an $835 million settlement. Urethane,
        2016 WL 4060156, at *1. The court awarded attorneys’ fees of 33.33% of the settlement.
        Id., at *8.

The following antitrust class cases, not listed on the Megafund Antitrust Cases chart,3 were tried
to a plaintiffs’ verdict:

       Law v. Nat’l Collegiate Athletic Ass’n, No. Civ. A 94-2053, ECF No. 1002 (D. Kan.
        1999) (awarding attorneys’ fees of $18.2 million (33%) on $54.5 million post-verdict
        settlement based on percentage of recovery method; the jury had returned a verdict in
        favor of plaintiffs for $22.3 million, which, after trebling and an adjustment to account
        for net present value, resulted in a recovery of $72 million).4
       In re Scrap Metal Antitrust Litig., No. 1:02-cv-00844, ECF No. 673 at 22 (N.D. Ohio
        Sept. 30, 2006) (awarding attorneys’ fees of $2.5 million (10.98%) on $23 million
        judgment (after trebling and setoff) pursuant to Clayton Act fee shifting provision; the
        court had previously awarded attorneys’ fees of 26.6% of $11.5 million in settlement
        funds).5
       In re Vitamin C Antitrust Litig., No. 1:06-md-01738-BMC-JO, ECF No. 815 (E.D.N.Y.
        Dec. 30, 2013) (awarding attorneys’ fees of $4.1 million (2.7%) on $153.3 million
        judgment (after trebling and setoff) pursuant to Clayton Act fee shifting provision; the
        court had previously awarded attorneys’ fees of 29.5% of $32.5 million in settlement
        funds).6
       O’Bannon v. Nat’l Collegiate Athletic Ass’n, No. C 09-3329 CW, 2016 WL 1255454, at
        *14 (N.D. Cal. Mar. 31, 2016) (awarding attorneys’ fees of $40.79 million pursuant to

3
       The Megafund Antitrust Cases chart included percentage of the fund attorneys’ fee
awards in common fund federal antitrust class action cases in which at least one fee award was
based on a common fund of over $100 million.
4
        See Law v. Nat’l Collegiate Athletic Ass’n, 108 F. Supp. 2d 1193, 1195 (D. Kan. 2000).
5
        A decade after the February 2006 trial judgment, class plaintiffs finally settled the
outstanding judgment and additional claims for $1.8 million with affiliates of the defendant. See
In re Scrap Metal Antitrust Litig., No. 1:02-cv-00844, ECF Nos. 743 & 751. The court awarded
$600,000 in fees to state collection counsel. See id.
6
      See In re: Vitamin C Antitrust Litig., No. 1:06-md-01738-BMC-JO, ECF No. 768 at 1
(E.D.N.Y. June 26, 2013).
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         Clayton Act fee shifting provision following trial verdict awarding injunctive relief to
         plaintiff class), aff’d, No. 16-15803, 2018 WL 3195719 (9th Cir. June 29, 2018).

       Regarding Class Counsel’s request for reimbursement of litigation expenses, the Court
asked for a categorization of certain expenses, such as expert expenses. See Hr’g Tr. at 40-42
(May 23, 2018).      An updated summary of litigation expenses through and including
December 31, 2017 follows:

    Experts & Consultants                                        $       17,217,666.65
    Document Management, Litigation Support & Data Platform      $        3,597,209.57
    Travel & Meals                                               $        1,051,484.30
    Online Legal & Factual Research                              $           332,947.63
    Copying                                                      $           111,942.34
    Telephone                                                    $            73,345.70
    Postage & Delivery                                           $            29,498.21
    Court Fees & Service of Process                              $            24,074.00
    Court Reporters & Transcripts                                $            21,339.22
    Staff Overtime                                               $            18,170.58
    Miscellaneous                                                $            12,219.187
    Bank Fees & Wire Fees                                        $               776.81
                                                   TOTAL         $       22,490,674.19

        In compiling the Experts & Consultants report (Exhibit 7), Class Counsel made two
adjustments to expense amounts initially included with our motion papers (ECF No. 939-1 at 3).
First, an invoice in the amount of $1,520 was mistakenly assigned to this case, and a declaration
correcting the mistake is attached hereto as Exhibit 9. Second, certain expenses payable in GBP
were incurred but not yet paid at the time of filing the fee and expense application. When the
expenses were actually paid, changes in exchange rates caused expenses to drop by $3,495.44.
Accordingly, Class Counsel have adjusted expenses associated with Experts & Consultants in the
category above to correct for these amounts.8

       Exhibit 7 lists experts and consultants who received payment under the category Experts
& Consulting above. Exhibit 8 lists the vendors and suppliers who received payment under the
category Document Management, Litigation Support & Data Platform above.


7
       Miscellaneous consists of periodical subscriptions and digital/print resources regarding
the FX market.
8
       Class Counsel’s original request was for reimbursement of expert expenses in the amount
of $17,222,662.19 and total litigation expenses in the amount of $22,495,669.73. ECF No. 939-1
at 3.
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        Finally, the Court asked Class Counsel to describe how the fee award in this case might
be allocated among Plaintiffs’ Counsel. See Hr’g Tr. at 41-42 (May 23, 2018). Class Counsel
expect to allocate fees in a manner which we believe, in good faith, reflects the relative
contribution of each firm to the institution, prosecution, and settlement of the Action. In general,
we would consider quantitative factors, such as the risk assumed in terms of attorney time and
funding case expenses, the number of hours worked, and the lodestar generated. We would also
consider qualitative factors, such as type of work performed (e.g., briefing a dispositive motion,
settlement issues, and discovery would be given greater weight than document review), the
quality of the work provided, and its overall value to the case. If the Court awards a lodestar
multiplier, Class Counsel expect to pay Plaintiffs’ Counsel not only their lodestar, but also an
amount in excess of lodestar that takes into consideration the factors discussed above.

                                                 ***
         The following Exhibits, referred to above, are attached to this letter:

 Exhibit
               Title
  No.
   1           Gross Settlement Fund as a Percentage of Damages Recovered
   2           Plaintiffs’ Counsel’s Hourly Rates and Bar Admission Years
   3           Professor Fitzpatrick Regression
   4           Professor Miller Regression
   5           Antitrust Class Action Fee Awards – Recoveries over $100 million
   6           Antitrust Class Action Fee Awards – Recoveries over $500 million
   7           Experts & Consultants Expenses (redacted)
   8           Document Management, Litigation Support & Data Platform Expenses
               Corrected Declaration of Gregory S. Asciolla in Support of Lead Counsel’s Motion
     9         for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses Filed
               on Behalf of Labaton Sucharow LLP

                                       Respectfully submitted,

SCOTT+SCOTT ATTORNEYS AT LAW LLP                       HAUSFELD LLP

 s/ Christopher M. Burke                                s/ Michael D. Hausfeld
Christopher M. Burke                                   Michael D. Hausfeld
600 W. Broadway, Suite 3300                            1700 K Street NW, Suite 650
San Diego, CA 92101                                    Washington, DC 20006
(619) 233-4565                                         (202) 540-7200
cburke@scott-scott.com                                 mhausfeld@hausfeld.com

                                     Interim Co-Lead Counsel
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IN RE FOREIGN EXCHANGE BENCHMARK                            No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                                            EXHIBIT 1




                       GROSS SETTLEMENT FUND AS A PERCENTAGE
                               OF DAMAGES RECOVERED

I.        Class-wide damages for the settlement class period (January 1, 2003 through
          December 15, 2015)

         Gross Settlement Fund = $2,310,275,000

         Class-wide single damages for the settlement class period estimated at $8 billion to
          $10 billion

         Percentage of damages recovered = 23% to 29%

         Percentage recovery, assuming 35% claims rate by volume = 66% to 83%

II.       Class-wide damages post-Court’s September 20, 2016 Order (ECF No. 661)
          (December 1, 2007 through December 31, 2013)

         Court’s September 20, 2016 ruling limited claims to December 1, 2007 through
          December 31, 2013

         As a result, class-wide single damages are adjusted to $5.4 billion to $7 billion

         Percentage of damages recovered = 33% to 43%

         Percentage recovery, assuming 35% claims rate by volume = 94% to 123%
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IN RE FOREIGN EXCHANGE BENCHMARK            No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                            EXHIBIT 2



       PLAINTIFFS’ COUNSEL’S HOURLY RATES AND BAR ADMISSION YEARS


                      Hourly     Bar
Name                                                       Firm
                       Rate    Admission
Partners
Christopher Burke      $995      1994         Scott+Scott Attorneys at Law LLP
David Scott            $995      1989         Scott+Scott Attorneys at Law LLP
Daryl Scott            $900      1985         Scott+Scott Attorneys at Law LLP
Geoff Johnson          $900      2000         Scott+Scott Attorneys at Law LLP
Joseph Guglielmo       $900      1996         Scott+Scott Attorneys at Law LLP
William Fredericks     $900      1988         Scott+Scott Attorneys at Law LLP
Donald Broggi          $825      2000         Scott+Scott Attorneys at Law LLP
Kristen Anderson       $825      2006         Scott+Scott Attorneys at Law LLP
Sylvia Sokol           $825      1999         Scott+Scott Attorneys at Law LLP
Walter Noss            $825      2001         Scott+Scott Attorneys at Law LLP
Erin Green Comite      $775      2002         Scott+Scott Attorneys at Law LLP
Michael Burnett        $775      1984         Scott+Scott Attorneys at Law LLP
Peter Barile           $775      1999         Scott+Scott Attorneys at Law LLP

Of Counsel
Joseph Cohen           $710      1990         Scott+Scott Attorneys at Law LLP

Associates
Hal Cunningham         $625      2006         Scott+Scott Attorneys at Law LLP
J. Alex Vargas         $625      2004         Scott+Scott Attorneys at Law LLP
Julie Kearns           $625      2006         Scott+Scott Attorneys at Law LLP
David Goldberger       $600      2003         Scott+Scott Attorneys at Law LLP
John Jasnoch           $600      2011         Scott+Scott Attorneys at Law LLP
Stephanie Hackett      $600      2005         Scott+Scott Attorneys at Law LLP
Tom Boardman           $600      2010         Scott+Scott Attorneys at Law LLP
Michelle Conston       $575      2013         Scott+Scott Attorneys at Law LLP
Ryan Wagenleitner      $575      2009         Scott+Scott Attorneys at Law LLP
Kate Lv                $450      2014         Scott+Scott Attorneys at Law LLP
Jennifer Scott         $425      2011         Scott+Scott Attorneys at Law LLP
Joseph Halloran        $425      2012         Scott+Scott Attorneys at Law LLP
Kassandra Nelson       $400      2016         Scott+Scott Attorneys at Law LLP

Staff Attorneys
Carlo Labrado          $400      2012         Scott+Scott Attorneys at Law LLP
Carly Henek            $400      2001         Scott+Scott Attorneys at Law LLP
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                         Hourly     Bar
Name                                                           Firm
                          Rate    Admission
Christina Mancuso         $400      2011          Scott+Scott Attorneys at Law LLP
Christopher Wilson        $400      2009          Scott+Scott Attorneys at Law LLP
Deniece Kuwahara          $400      2012          Scott+Scott Attorneys at Law LLP
Edward Signaigo           $400      2009          Scott+Scott Attorneys at Law LLP
Elizabeth Campos          $400      2005          Scott+Scott Attorneys at Law LLP
Helen Glynn               $400      2001          Scott+Scott Attorneys at Law LLP
Jing Levesque             $400      2013          Scott+Scott Attorneys at Law LLP
Justus Benjamin           $400      2008          Scott+Scott Attorneys at Law LLP
Kenneth Lau               $400      1997          Scott+Scott Attorneys at Law LLP
Nga Cunningham            $400      2006          Scott+Scott Attorneys at Law LLP
Nnenna Sankey             $400      2013          Scott+Scott Attorneys at Law LLP
Peter Gravin              $400      1997          Scott+Scott Attorneys at Law LLP
Randall Petrie            $400      1994          Scott+Scott Attorneys at Law LLP
Robert Villanueva         $400      2014          Scott+Scott Attorneys at Law LLP
Sean Russell              $400      2016          Scott+Scott Attorneys at Law LLP
Shafeeq Abdul-Wadud       $400      2001          Scott+Scott Attorneys at Law LLP
Todd Hipper               $400      2016          Scott+Scott Attorneys at Law LLP
Wendy Ryu                 $400      2006          Scott+Scott Attorneys at Law LLP
Yvonne Funk               $400      2007          Scott+Scott Attorneys at Law LLP

Contract Attorneys
Joseph Pettigrew          $425      2005          Scott+Scott Attorneys at Law LLP
Gary Dustin Foster        $400      2003          Scott+Scott Attorneys at Law LLP
Troy Terpening            $500      2001          Scott+Scott Attorneys at Law LLP
Alicia Zimmerman          $400      2011          Scott+Scott Attorneys at Law LLP

Partners
Michael D. Hausfeld      $1,375     1969                   Hausfeld LLP
Michael P. Lehmann       $1,100     1977                   Hausfeld LLP
Bonny Sweeney            $1,100     1988                   Hausfeld LLP
William P. Butterfield    $920      1978                   Hausfeld LLP
Christopher L. Lebsock    $850      2006                   Hausfeld LLP
Brian A. Ratner           $830      2000                   Hausfeld LLP
Hilary K. Scherrer        $780      2000                   Hausfeld LLP
Reena A. Gambhir          $710      2004                   Hausfeld LLP
Timothy Kearns            $670      2006                   Hausfeld LLP
Jeannine Kenney           $630      2009                   Hausfeld LLP

Associates
Nathaniel Giddings        $500      2011                   Hausfeld LLP
Katie Beran               $475      2012                   Hausfeld LLP
Sarah LaFreniere          $430      2015                   Hausfeld LLP
Kristen Ward              $410      2011                   Hausfeld LLP
Samantha Derksen          $400      2018                   Hausfeld LLP
Stephanie Berger          $350      2013                   Hausfeld LLP

Staff Attorneys
Steven Nathan             $600      1991                   Hausfeld LLP
Jamillah Fraser           $495      2006                   Hausfeld LLP
                                              2
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                      Hourly      Bar
Name                                                     Firm
                       Rate     Admission
Mary Jean Pizza        $495       1993               Hausfeld LLP
Shana Weiner           $400       2013               Hausfeld LLP
Icee Etheridge         $400       2016               Hausfeld LLP
Orly Halpern           $400       2016               Hausfeld LLP
Caleigh Macdonald      $400       2013               Hausfeld LLP
Damali Martin          $400       2016               Hausfeld LLP
Sean Zehmer            $400       2017               Hausfeld LLP
Nicholas Hubner        $350       2016               Hausfeld LLP
April Jones            $350       2017               Hausfeld LLP

Contract Attorneys
Edward Fitzgerald      $425       1990               Hausfeld LLP
Kelli Baxter           $425       2011               Hausfeld LLP
Hana Choe              $425       2010               Hausfeld LLP
Chris Young            $420       2011               Hausfeld LLP
Vanya Dugalic          $350       2002               Hausfeld LLP

Partners
Stephen Tillery        $1,200     1976             Korein Tillery LLP
Robert Litan           $1,150     1980             Korein Tillery LLP
George Zelcs           $1,100     1979             Korein Tillery LLP
Robert King             $900      1989             Korein Tillery LLP
Aaron Zigler            $850      2001             Korein Tillery LLP
Michael Klenov          $850      2009             Korein Tillery LLP
Steven Berezney         $850      2003             Korein Tillery LLP
Randall Ewing           $800      2007             Korein Tillery LLP
Rich Elias              $750      2002             Korein Tillery LLP
Tami Spicer             $750      2002             Korein Tillery LLP

Associates
Diane Moore            $700       1991             Korein Tillery LLP
Carol O’Keefe          $575       1987             Korein Tillery LLP
Chad Bell              $575       2006             Korein Tillery LLP
Aidan McNamara         $425       2006             Korein Tillery LLP
Devin Dippold          $425       2014             Korein Tillery LLP
Garrett Broshuis       $425       2013             Korein Tillery LLP
Jamie Steinmetz        $425       2005             Korein Tillery LLP
Michael Forrest        $425       2008             Korein Tillery LLP
Noah Smith-Drelich     $425       2013             Korein Tillery LLP
Peter Rocque           $425       2006             Korein Tillery LLP
Zach Miller            $425       2015             Korein Tillery LLP

Staff Attorneys
Alana Freund           $400       2014             Korein Tillery LLP
Angela Roberts         $400       2005             Korein Tillery LLP
Daniel Krause          $400       2005             Korein Tillery LLP
Denise Hall            $400       2003             Korein Tillery LLP
Ian Moody              $400       2016             Korein Tillery LLP
Jace Carter            $400       2011             Korein Tillery LLP
                                            3
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                         Hourly     Bar
Name                                                      Firm
                          Rate    Admission
James Gunter              $400      2013            Korein Tillery LLP
Jennie Simons             $400      2013            Korein Tillery LLP
Joss Capkovic             $400      2012            Korein Tillery LLP
Kyle Bass                 $400      2013            Korein Tillery LLP
Lynn Preece               $400      1981            Korein Tillery LLP
Marlene Elliott           $400      2005            Korein Tillery LLP
Richard Smreker           $400      1993            Korein Tillery LLP
Zachary Mueller           $400      2007            Korein Tillery LLP

Partners
Karen Lerner              $850      1993           Kirby McInerney LLP
David Kovel               $985      2003           Kirby McInerney LLP
Daniel Hume               $985      1992           Kirby McInerney LLP
Robert Gralewski          $810      1998           Kirby McInerney LLP
Andrew McNeela            $850      1999           Kirby McInerney LLP

Of Counsel
Sawa Nagano               $425      2002           Kirby McInerney LLP
Lauren Wagner Pederson    $750      1994           Kirby McInerney LLP
Ed Varga                  $650      2008           Kirby McInerney LLP

Associates
Fatima Brizuela           $375      2016           Kirby McInerney LLP
Karina Kosharskyy         $425      2007           Kirby McInerney LLP
Meghan Summers            $700      2013           Kirby McInerney LLP
Elizabeth Brehm           $575      2009           Kirby McInerney LLP
Thomas Elrod              $700      2009           Kirby McInerney LLP
Anthony Maneiro           $350      2017           Kirby McInerney LLP
Melissa Fortunato         $475      2014           Kirby McInerney LLP

Staff Attorneys
Marko Radisavljevic       $400      2015           Kirby McInerney LLP
Amelia McDermott          $425      1999           Kirby McInerney LLP
Peter Brueggen            $425      1997           Kirby McInerney LLP
Clarence Pollard          $425      1991           Kirby McInerney LLP
C. Joy Amuzie             $425      1990           Kirby McInerney LLP
Parul Sharma              $400      2014           Kirby McInerney LLP

Partners
J. Himes                  $950      1974          Labaton Sucharow LLP
G. Asciolla               $875      1994          Labaton Sucharow LLP

Of Counsel
K. Garvey                 $775      1999          Labaton Sucharow LLP

Associates
R. van der Meulen         $575      2010          Labaton Sucharow LLP
M. Perez                  $525      2010          Labaton Sucharow LLP
R. Julius                 $465      2014          Labaton Sucharow LLP
                                              4
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                           Hourly     Bar
Name                                                             Firm
                            Rate    Admission
R. Julius                   $425      2014                Labaton Sucharow LLP

Staff Attorneys
M. Bolano                   $425      1994                Labaton Sucharow LLP
B. Kaplan                   $425      1983                Labaton Sucharow LLP
V. Brissett                 $425      1995                Labaton Sucharow LLP
A. Allan                    $410      1992                Labaton Sucharow LLP
M. Jungman                  $410      2010                Labaton Sucharow LLP
J. Schuster                 $410      1998                Labaton Sucharow LLP
M. Taggart                  $335      2010                Labaton Sucharow LLP

Partners
Vincent Briganti            $875      1996               Lowey Dannenberg, P.C.
Geoffrey Horn               $875      1994               Lowey Dannenberg, P.C.
Peter D. St. Phillip, Jr    $875      1993               Lowey Dannenberg, P.C.
Thomas Skelton              $875      1992               Lowey Dannenberg, P.C.
Gerald Lawrence             $875      1993               Lowey Dannenberg, P.C.
Barbara Hart                $900      1992               Lowey Dannenberg, P.C.
David Harrison              $800      1981               Lowey Dannenberg, P.C.

Associates
Raymond Girnys              $500      2011               Lowey Dannenberg, P.C.
Christian Levis             $500      2013               Lowey Dannenberg, P.C.
Christina McPhaul           $350      2013               Lowey Dannenberg, P.C.
Sylvie Bourassa             $350      2011               Lowey Dannenberg, P.C.
Frank Strangeman            $550      2010               Lowey Dannenberg, P.C.
Yong Kim                    $325      2016               Lowey Dannenberg, P.C.
Michelle Conston            $400      2014               Lowey Dannenberg, P.C.
Melissa Cabrera             $400      2014               Lowey Dannenberg, P.C.
Nathan Carr-Whealy          $325      2015               Lowey Dannenberg, P.C.

Partners
Patrick Daniels             $825      1997          Robbins Geller Rudman & Dowd LLP
Ellen Gusikoff Stewart      $870      1989          Robbins Geller Rudman & Dowd LLP
Steven Jodlowski            $685      2005          Robbins Geller Rudman & Dowd LLP
David Mitchell              $760      1998          Robbins Geller Rudman & Dowd LLP
Brian O’Mara                $715      2002          Robbins Geller Rudman & Dowd LLP

Of Counsel
Randi D. Bandman            $790      1989          Robbins Geller Rudman & Dowd LLP
Patrick J. Coughlin         $950      1983          Robbins Geller Rudman & Dowd LLP
Andrew Hutton               $740      1994          Robbins Geller Rudman & Dowd LLP
Keith F. Park               $885      1972          Robbins Geller Rudman & Dowd LLP

Associates
Lonnie Browne               $460      2013          Robbins Geller Rudman & Dowd LLP
John George                 $460      2013          Robbins Geller Rudman & Dowd LLP
Vincent Serra               $560      2005          Robbins Geller Rudman & Dowd LLP

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                       Hourly     Bar
Name                                                            Firm
                        Rate    Admission
Staff Attorneys
Kelli Black             $360      2009             Robbins Geller Rudman & Dowd LLP
Nicole Hines            $360      2006             Robbins Geller Rudman & Dowd LLP
David Lin               $360      2009             Robbins Geller Rudman & Dowd LLP
Dharmi Mehta            $360      2014             Robbins Geller Rudman & Dowd LLP
Joshua Moyer            $360      2008             Robbins Geller Rudman & Dowd LLP
Todd Simonson           $350      2002             Robbins Geller Rudman & Dowd LLP
Alexis Stickney         $360      2000             Robbins Geller Rudman & Dowd LLP

Project Attorneys
Joseph Capobianco       $360      2006             Robbins Geller Rudman & Dowd LLP
Ian Losasso             $360      2003             Robbins Geller Rudman & Dowd LLP
Amy Saba                $360      2000             Robbins Geller Rudman & Dowd LLP
Joshua Youngkin         $360      2010             Robbins Geller Rudman & Dowd LLP

Summer Associate
Heather Schlesier       $175      2018             Robbins Geller Rudman & Dowd LLP

Partners
Daniel J. Mogin         $895      1980                     MoginRubin LLP
Jonathan Rubin          $800      1981                     MoginRubin LLP

Senior Counsel
Jodie Williams          $590      2006                     MoginRubin LLP
Joy Sidhwa              $515      2006                     MoginRubin LLP

Associates
Peter Choi              $350      2015                     MoginRubin LLP
Phillip Stephan         $475      2012                     MoginRubin LLP

Staff Attorney
Gina Kim                $475      2007                     MoginRubin LLP

Partners
Michael J. Boni         $825      1988                     Boni & Zach LLC
Joshua D. Snyder        $675      2002                     Boni & Zach LLC
John E. Sindoni         $625      2003                     Boni & Zach LLC

Counsel
Julie Fuchs             $425      1993                     Boni & Zach LLC
Joanne Noble            $550      1999                     Boni & Zach LLC

Partners
William J. Leonard      $625      1984          Obermayer Rebmann Maxwell & Hippel LLP
William J. Leonard
                        $425      1984          Obermayer Rebmann Maxwell & Hippel LLP
(Document Review)
Mathieu J. Shapiro      $595      1995          Obermayer Rebmann Maxwell & Hippel LLP


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                          Hourly     Bar
Name                                                                   Firm
                           Rate    Admission
Associates
Rigel C. Farr              $430      2013           Obermayer Rebmann Maxwell & Hippel LLP
Rigel C. Farr (Document
                           $425      2013           Obermayer Rebmann Maxwell & Hippel LLP
Review)
Conor McNally              $430      2013           Obermayer Rebmann Maxwell & Hippel LLP
Conor McNally
                           $425      2013           Obermayer Rebmann Maxwell & Hippel LLP
(Document Review)
Lori V. Butler             $425      1995           Obermayer Rebmann Maxwell & Hippel LLP
Timothy J. Ford            $415      2015           Obermayer Rebmann Maxwell & Hippel LLP

Partner
Allan Steyer               $980      1981          Steyer Lowenthal Boodrookas Alvarez & Smith LLP

Senior Counsel
D. Scott Macrae            $895      1982          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Jayne A. Peeters           $850      1983          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Jayne A. Peeters
                           $395      1983          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
(Document Review)
Alexander D. Kullar        $590      2008          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Alexander D. Kullar
                           $395      2008          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
(Document Review)
Sumee Oh                   $590      2001          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Sumee Oh (Document
                           $395      2001          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Review)

Associates
Gabriel D. Zeldin          $395      2010          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Thomas J. Lloyd            $340      2015          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Cameron L. Weiss           $360      2013          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Kristopher M. Di
                           $340      2012          Steyer Lowenthal Boodrookas Alvarez & Smith LLP
Giovanni

Partners
Ellen Meriwether           $775      1985           Cafferty Clobes Meriwether & Sprengel LLP
Bryan L. Clobes            $775      1990           Cafferty Clobes Meriwether & Sprengel LLP
Jennifer W. Sprengel       $775      1990           Cafferty Clobes Meriwether & Sprengel LLP
Anthony F. Fata            $700      1999           Cafferty Clobes Meriwether & Sprengel LLP
Daniel O. Herrera          $625      2008           Cafferty Clobes Meriwether & Sprengel LLP
Daniel O. Herrera
                           $425      2008           Cafferty Clobes Meriwether & Sprengel LLP
(Document Review)

Associates
John Scheflow              $425      2014           Cafferty Clobes Meriwether & Sprengel LLP
Brian O’Connell            $485      2013           Cafferty Clobes Meriwether & Sprengel LLP
Brian O’Connell
                           $425      2013           Cafferty Clobes Meriwether & Sprengel LLP
(Document Review)

Staff Attorneys
Brian Ulwick               $425      2014           Cafferty Clobes Meriwether & Sprengel LLP
                                               7
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                         Hourly     Bar
Name                                                                Firm
                          Rate    Admission
William O’Brien           $425      2014          Cafferty Clobes Meriwether & Sprengel LLP
Christopher B. Sanchez    $425      2000          Cafferty Clobes Meriwether & Sprengel LLP
Christopher Dolotosky     $425      2001          Cafferty Clobes Meriwether & Sprengel LLP

Partners
Linda P. Nussbaum         $950      1978                 Nussbaum Law Group, P.C.
Bart D. Cohen             $875      1990                 Nussbaum Law Group, P.C.
Susan R. Schwaiger        $775      1993                 Nussbaum Law Group, P.C.
Susan R. Schwaiger
                          $425      1993                 Nussbaum Law Group, P.C.
(Document Review)
Bradley J. Demuth         $775      2001                 Nussbaum Law Group, P.C.

Associates
Hugh D. Sandler           $650      2008                 Nussbaum Law Group, P.C.
Peter E. Moran            $600      2010                 Nussbaum Law Group, P.C.
Peter E. Moran
                          $425      2010                 Nussbaum Law Group, P.C.
(Document Review)
Amal Bouhabib             $625      2010                 Nussbaum Law Group, P.C.

Contract Attorneys
Jamie Mogil               $425      2006                 Nussbaum Law Group, P.C.
Abraham Schmilowitz       $425      2002                 Nussbaum Law Group, P.C.
Dov Kalton                $425      2002                 Nussbaum Law Group, P.C.
Joshua Alpert             $425      2005                 Nussbaum Law Group, P.C.
Daniel M. Trieff          $400      1999                 Nussbaum Law Group, P.C.
Michael Spyropoulos       $400      1991                 Nussbaum Law Group, P.C.

Partners
Patricia I. Avery         $895      1977                      Wolf Popper LLP
Andrew E. Lencyk          $895      1992                      Wolf Popper LLP
Matthew Insley-Pruitt     $825      2006                      Wolf Popper LLP
Matthew Insley-Pruitt
                          $425      2006                      Wolf Popper LLP
(Document Review)

Associates
Fei-Lu Qian               $575      2004                      Wolf Popper LLP
Fei-Lu Qian (Document
                          $425      2004                      Wolf Popper LLP
Review)
Sean Zaroogian            $495      2015                      Wolf Popper LLP
Sean Zaroogian
                          $425      2015                      Wolf Popper LLP
(Document Review)
Elissa M. Hachmeister     $450      2017                      Wolf Popper LLP
Elissa M. Hachmeister
                          $425      2017                      Wolf Popper LLP
(Document Review)

Partners
Andrew J. Entwistle      $1,150     1985                  Entwistle & Capucci LLP
Robert N. Cappucci        $850      1994                  Entwistle & Capucci LLP
Vincent R. Cappucci      $1,150     1985                  Entwistle & Capucci LLP
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                         Hourly     Bar
Name                                                       Firm
                          Rate    Admission

Associates
Alexander F. Schlow       $475      2013          Entwistle & Capucci LLP
Andrew N. Sher            $375      2016          Entwistle & Capucci LLP
Edward A. Panchernikov    $325      2017          Entwistle & Capucci LLP
Heather M. Sertial        $475      2013          Entwistle & Capucci LLP
Jarett N. Sena            $325      2016          Entwistle & Capucci LLP
Katherine M. Lenahan      $325      2013          Entwistle & Capucci LLP

Partners
James J. Sabella          $925      1977          Grant & Eisenhofer, P.A.
Robert G. Eisler          $940      1989          Grant & Eisenhofer, P.A.
Linda Nussbaum            $850      1978          Grant & Eisenhofer, P.A.

Senior Counsel
Deborah Elman             $720      2005          Grant & Eisenhofer, P.A.
Caitlin Moyna             $650      2003          Grant & Eisenhofer, P.A.

Associates
Peter Barile              $695      1999          Grant & Eisenhofer, P.A.
James Welch               $475      2011          Grant & Eisenhofer, P.A.
Susan Schwaiger           $635      1993          Grant & Eisenhofer, P.A.
Ruth Yang                 $375      2002          Grant & Eisenhofer, P.A.

Staff Attorneys
Greg Goodman              $325      1984          Grant & Eisenhofer, P.A.
Deborah Weiss             $350      1988          Grant & Eisenhofer, P.A.
Sonja Patrick             $350      2014          Grant & Eisenhofer, P.A.
Maria Go                  $350      2001          Grant & Eisenhofer, P.A.
Henry Noye                $350      1988          Grant & Eisenhofer, P.A.
Lindsay Doering           $350      2000          Grant & Eisenhofer, P.A.
Kerry Dustin              $420      2004          Grant & Eisenhofer, P.A.
Erik Giannitrapani        $350      2014          Grant & Eisenhofer, P.A.
Jeffrey Hawkins           $350      2007          Grant & Eisenhofer, P.A.
Robert Minnich            $350      1997          Grant & Eisenhofer, P.A.
Sarah Hickey              $350      2014          Grant & Eisenhofer, P.A.
Shannon Somma             $420      2006          Grant & Eisenhofer, P.A.
Edward Lilly              $440      1997          Grant & Eisenhofer, P.A.
Steve Kwon                $420      2002          Grant & Eisenhofer, P.A.
Timothy Noll              $395      2010          Grant & Eisenhofer, P.A.

Partners
Michael Buchman           $925      1993             Motley Rice LLC
Bill Narwold             $1,025     1979             Motley Rice LLC

Associate
Michelle Zolnoski         $525      2010             Motley Rice LLC


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                           Hourly     Bar
Name                                                            Firm
                            Rate    Admission
Staff Attorneys
Nicola Earle                $425      2012                Motley Rice LLC
Leslie Fourton              $425      1996                Motley Rice LLC
Carl Fuardo                 $425      2004                Motley Rice LLC
Karen Seiden                $425      1993                Motley Rice LLC

Partners
Brian Murray                $825      1990          Glancy Prongay & Murray LLP
Joseph Cohen                $825      1990          Glancy Prongay & Murray LLP
Lee Albert                  $825      1986          Glancy Prongay & Murray LLP
Kara Wolke                  $700      2006          Glancy Prongay & Murray LLP
Jonathan M. Rotter          $700      2004          Glancy Prongay & Murray LLP

Associates
Graham Clegg                $395      1993          Glancy Prongay & Murray LLP
Mehrdaud Jafarnia           $395      2001          Glancy Prongay & Murray LLP
Noreen R. Scott             $380      2002          Glancy Prongay & Murray LLP
Dana K. Vincent             $395      2003          Glancy Prongay & Murray LLP

Partners
Daniel Barenbaum            $760      2000                 Berman Tabacco
Kyle DeValerio              $640      2004                 Berman Tabacco
Kyle DeValerio
                            $425      2004                 Berman Tabacco
(Discovery Rate)
Nicole Lavallee             $875      1993                 Berman Tabacco
Todd Seaver                 $760      1999                 Berman Tabacco
Joseph Tabacco              $895      1974                 Berman Tabacco

Associates
Sarah McGrath               $430      2009                 Berman Tabacco
Sarah McGrath
                            $425      2009                 Berman Tabacco
(Discovery Rate)
Jessica Moy                 $475      2010                 Berman Tabacco
Chowning Poppler            $475      2010                 Berman Tabacco
John Sutter                 $550      1995                 Berman Tabacco

Staff Attorneys
Karen Didrickson            $420      1994                 Berman Tabacco
Brian Drake                 $380      1999                 Berman Tabacco
Laura Falardeau             $390      2006                 Berman Tabacco
Glenn Goffin                $535      1991                 Berman Tabacco
Berna Lee                   $380      1999                 Berman Tabacco

Partners
Michael Eisenkraft          $675      2005        Cohen Milstein Sellers & Toll PLLC
Emmy Levins                 $575      2007        Cohen Milstein Sellers & Toll PLLC

Staff/Contract Attorneys
Joseph Decker               $375      2005        Cohen Milstein Sellers & Toll PLLC
                                             10
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                          Hourly     Bar
Name                                                              Firm
                           Rate    Admission
Jen J. Smith               $390      2002          Cohen Milstein Sellers & Toll PLLC

Partners
Louis F. Burke             $850      1973                  Louis F. Burke P.C.

Senior Counsel
Leslie Wybiral             $500      2006                  Louis F. Burke P.C.

Associates
David Sandler              $500      2010                  Louis F. Burke P.C.
David Sandler (Document
                           $425      2010                  Louis F. Burke P.C.
Review)

Staff Attorneys
Alison Ruffley             $500      2006                  Louis F. Burke P.C.
Alison Ruffley
                           $425      2006                  Louis F. Burke P.C.
(Document Review)
James Hanlon               $425      2003                  Louis F. Burke P.C.

Partner
Michael E. Criden          $700      1987                  Criden & Love, P.A.

Associate
Lindsey C. Grossman        $350      2013                  Criden & Love, P.A.

Staff Attorneys
Seye B. Aluko              $425      2008                  Criden & Love, P.A.
Armond J. Faris            $425      2009                  Criden & Love, P.A.
Peter Schoenthal           $350      2012                  Criden & Love, P.A.
Fatou Sonko                $425      2012                  Criden & Love, P.A.

Partners
Solomon B. Cera           $1,000     1981                       Cera LLP
C. Andrew Dirksen          $725      1998                       Cera LLP

Associate
Kenneth A. Frost           $450      2001                       Cera LLP

Partners
Karen L. Morris           $975       1984        Morris and Morris LLC Counselors at Law
Patrick F. Morris         $850       1984        Morris and Morris LLC Counselors at Law

Associate
R. Michael Lindsey        $725       1989        Morris and Morris LLC Counselors at Law

Partner
C. Moze Cowper            $695       2001                   Cowper Law LLP


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                         Hourly     Bar
Name                                                         Firm
                          Rate    Admission
Partners
Daniel Cohen              $695      1989          Cuneo Gilbert & LaDuca, LLP
Daniel Cohen (Document
                          $425                    Cuneo Gilbert & LaDuca, LLP
Review)                             1989

Partners
Steven A. Kanner          $845      1979        Freed Kanner London & Millen LLC
Robert J. Wozniak         $675      2000        Freed Kanner London & Millen LLC

Of Counsel
Brian Watkins             $425      2004        Freed Kanner London & Millen LLC
John McCarthy             $425      2014        Freed Kanner London & Millen LLC
Philip Moyer              $425      2012        Freed Kanner London & Millen LLC
Kevin LaCorte             $425      2003        Freed Kanner London & Millen LLC

Associates
Brian M. Hogan            $515      2005        Freed Kanner London & Millen LLC
Brian M. Hogan
                          $425      2005        Freed Kanner London & Millen LLC
(Document Review)

Partner
Dylan J. McFarland
                          $425      1980           Heins Mills & Olson, P.L.C.
(Document Review)

Partner
Eric L. Young             $800      1999             Young Law Group, P.C.

Associate
Sean F. Bigley            $350      2013             Young Law Group, P.C.

Partner
John D. Radice            $675      2004              Radice Law Firm, PC

Of Counsel
April Lambert             $545      2003              Radice Law Firm, PC
Daniel Rubenstein         $545      2003              Radice Law Firm, PC
Eva Kane                  $545      1993              Radice Law Firm, PC
Clark Craddock            $545      2005              Radice Law Firm, PC

Associates
Luke Smith                $525      2011              Radice Law Firm, PC
Kenneth Pickle            $475      2012              Radice Law Firm, PC

Staff Attorneys
Eric Blanco               $345      2006              Radice Law Firm, PC
Megon Walker              $345      2010              Radice Law Firm, PC
Joan Brandl               $345      1996              Radice Law Firm, PC
Do Im Park                $345      2005              Radice Law Firm, PC
Catherine Rhy             $345      2012              Radice Law Firm, PC
                                           12
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                       Hourly     Bar
Name                                                       Firm
                        Rate    Admission
Shirley Menard          $345      1996             Radice Law Firm, PC

Partner
Adam Frankel            $500      2010        Greenwich Legal Associates, LLC

Contract Attorneys
Jennifer Frankel        $250      2011        Greenwich Legal Associates, LLC
Andres Carullo          $250      2012        Greenwich Legal Associates, LLC

Partners
Derek W. Loeser         $940      1994            Keller Rohrback L.L.P.
Gretchen S. Obrist      $710      2005            Keller Rohrback L.L.P.
Lynn L. Sarko           $995      1981            Keller Rohrback L.L.P.
David S. Preminger      $940      1973            Keller Rohrback L.L.P.
Erin Riley              $775      2000            Keller Rohrback L.L.P.

Associates
Matthew M. Gerend       $575      2010            Keller Rohrback L.L.P.
Jacob A. Richards       $500      2010            Keller Rohrback L.L.P.
Lisa A. Nowlin          $475      2016            Keller Rohrback L.L.P.




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IN RE FOREIGN EXCHANGE BENCHMARK          No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                          EXHIBIT 3



                  PROFESSOR FITZPATRICK REGRESSION
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                 In re FX (proposed)
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RATES ANTITRUST LITIGATION
                                          EXHIBIT 4



                    PROFESSOR MILLER REGRESSION
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                                                Attorneys' Fee as a Percentage of Recovery
                                                        $100M+ Cases, 2009‐2013
                 40.00%




                 35.00%




                 30.00%




                 25.00%
Fee Percentage




                 20.00%

                                                          In re FX (proposed)

                 15.00%




                 10.00%




                  5.00%




                  0.00%
                          $0   $1,000,000,000     $2,000,000,000        $3,000,000,000   $4,000,000,000   $5,000,000,000   $6,000,000,000
                                                                           Recovery
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IN RE FOREIGN EXCHANGE BENCHMARK          No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                          EXHIBIT 5



                 ANTITRUST CLASS ACTION FEE AWARDS
                    RECOVERIES OVER $100 MILLION
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IN RE FOREIGN EXCHANGE BENCHMARK          No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                          EXHIBIT 6



                 ANTITRUST CLASS ACTION FEE AWARDS
                    RECOVERIES OVER $500 MILLION
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IN RE FOREIGN EXCHANGE BENCHMARK          No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                          EXHIBIT 7



                  EXPERTS & CONSULTANTS EXPENSES



                            CONFIDENTIAL
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IN RE FOREIGN EXCHANGE BENCHMARK          No. 1:13-cv-7789-LGS
RATES ANTITRUST LITIGATION
                                          EXHIBIT 8



            DOCUMENT MANAGEMENT, LITIGATION SUPPORT &
                    DATA PLATFORM EXPENSES
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                                                      Expenses Paid /
                        Vendor                                                                     Summary of Work Performed
                                                      Incurred (USD)
                                                                      Consulting services re building and maintenance of secure data platform to host
                                                                      Defendants’ FX transaction data in isolated server rack space at an SSAE 16/SOC 2
                                                                      certified data center and provide secure, remote access to experts ($215/hour) plus
Litigation Data Services, LLC                            1,567,342.34 equipment billed at cost.
SAS Institute Inc.                                          65,407.60 Licensing fees for software to analyze Defendants’ FX transaction data.
TM Technologies                                              8,580.69 Licensing and equipment for secure data platform.
                                                                       Discount representing the estimated residual value of the secure data platform
Discount for residual value of secure data platform                    equipment at the end of its service life for this case, which was assumed to be
equipment                                                  (46,470.29) December 31, 2019.
                                                                       Consulting services re computer programming regarding Defendants’ FX transaction
Fixed Point Financial Consulting                             62,020.32 data.
Recommind                                                1,597,977.45 Electronic document hosting and review platform plus related services.
                                                                        Reuters Matching transaction data (for all available months during settlement class
                                                                        period) used in Plan of Distribution, class cert, and damages analyses (obtained
Thomson Reuters (Markets) LLC                             133,122.04    pursuant to subpoena).
The Oliver Group                                           69,717.76    Document collection and production services for Plaintiffs' document productions.
Precision Discovery                                        40,491.40    Document collection and production services for Plaintiffs' document productions.
Transperfect Legal Solutions                               25,336.42    Document collection and production services for Plaintiffs' document productions.
Key Discovery                                              18,921.32    Document collection and production services for Plaintiffs' document productions.
                                                                        Consulting services to design secure data platform for hosting Defendants’ FX
True Math, LLC                                              17,324.71   transaction data described above.
DTI                                                         12,404.11   Document collection and production services for Plaintiffs' document productions.
Class Action Research                                        9,200.30   Process servers.
                                                                        Licensing fee for secure file sharing, storage, and collaboration among deposition
Box Inc.                                                     3,393.60   prep team.
Avalon Software                                              3,000.00   Document collection and production services for Plaintiffs' document productions.
ShareFile                                                    2,770.11   Licensing fee for secure file sharing and storage.
DC Data Corp.                                                1,257.46   Document collection and production services for Plaintiffs' document productions.
Other document management and litigation support
services                                                     5,412.23 Miscellaneous storage, collection, production, and litigation support expenses.
                   TOTAL                                 3,597,209.57
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